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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

Inre: KATRINA CANAL BREACHES *
CONSOLIDATED LITIGATION

a

CIVIL ACTION: 05-4182 “K” (2)

te

JUDGE: STANWOOD R. DUVAL

PERTAINS TO: INSURANCE
Abadie et al, v. Aegis Security Insurance Co,
No. 06-5164

MAGISTRATE JUDGE
JOSEPH C. WILKINSON

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PARTIAL MOTION TO DISMISS PLAINTIFF
JEANNETTE ST. ETIENNE, WITH PREJUDICE

Plaintiff, Jeannette St. Etienne, having settled her claim against Allstate Insurance
Company in the captioned proceeding in mediation, respectfully requests that she be dismissed from
this action, with prejudice,

WHEREFORE, Jeannette St. Etienne prays that she be dismissed as a Plaintiff from

this lawsuit, with prejudice, and that her claim against Allstate Insurance Company be dismissed,

with prejudice.

Bruno Motion to Dismiss Federal Court Suit
Case 2:05-cv-04182-SRD-JCW Document 3379-2 Filed 03/12/07 Page 2 of 2

ubmitted,

runo & Bruno

THEREBY CERTIFY that a true and correct copy of the foregoing has been served upon all

+

counsel of record by hand delivery, facsimile transmission, Coy electronic system, and/or by U.S.

Postal Service, on this day of , 200%

Brune Motion to Dismiss Federal Court Suit
